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                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                              Jane K. Castro
Clerk of Court                                                                  Chief Deputy Clerk
                                       August 31, 2023


Kyle Courtneay Velte
University of Kansas School of Law
1535 West 15th Street
Lawrence, KS 66045-0000

RE:        23-1135, Griffith v. El Paso County, Colorado, et al
           Dist/Ag docket: 1:21-CV-00387-CMA-NRN

Dear Counsel:

You have failed to comply with the requirements of the Federal Rules of Appellate
Procedure or Tenth Circuit Rules in the following respect(s):

An entry of appearance and certificate of interested parties has not been filed as required
by 10th Cir. R. 46.1.

Please correct the stated deficiency within three days of the date of this notice.

Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court



cc:        Jonathan Backer
           Tovah Calderon
           Annie Kurtz
           Timothy Macdonald
           Steven Martyn
           Cynthia Louise Rice
           Harper S. Seldin
           Maria Michelle Uzeta
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      Nathan James Whitney
      Ezra Young



CMW/jm
